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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Lead Civil Action No. 1:20-cv-01121-RBJ
Consolidated with 1:20-cv-01881-RBJ-KLM; 1:20-cv-01134-RBJ; 1:20-cv-01163-RBJ-KLM;
1:20-cv-01176-RBJ; 1:20-cv-01468-RBJ-KLM; 1-20-cv-01475-RBJ; 1-20-cv-01529-RBJ; 1-20-
cv-01585-RBJ-KLM; and 1-20-cv-01364-KLM

BERNARD HAN,

       Plaintiff,

v.

VAIL RESORTS, INC.,

       Defendant.


                       ORDER: APPOINTMENT OF LEAD COUNSEL



       This case is a consolidation of ten purported class actions in which season ticket (“Epic

Pass”) holders at Vail Resorts complain that they were not offered partial refunds of their ticket

price for the 2019-20 seasons when the resort was forced to close by gubernatorial order due to

the COVID-19 pandemic. The resort was required to close on or about March 15, 2020,

meaning that approximately one month of a five-month ski season, more or less, was unavailable

due to the pandemic.

       Five separate motions have been filed concerning which law firm or firms should be

designated as “lead counsel” for the ten cases. The criteria to be considered by the Court in

making this decision are provided by Rule 23(g)(1)(A) and (B) of the Federal Rules of Civil

Procedure. The Court must consider (1) the work counsel has done in identifying or

investigating potential claims; (2) counsel’s experience in handling class actions, complex

litigation, or similar types of claims; (3) counsel’s knowledge of applicable law; and (4) the

resources counsel will commit to representing the class. The Court may also consider any other

matter pertinent to counsel’s ability to fairly and adequately represent the class.
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       The first bid was submitted jointly by counsel in the Clarke (No. 20-cv-01163-RBJ-

KLM) and Han (No. 20-cv-01121) cases. They request that the Court designate as “interim co-

lead counsel” lawyers from the law firms of Hagens Berman Sobol Shapiro LLP of Phoenix

(Robert Bruce Carey) and Milberg Phillips Grossman LLP of New York (Jennifer Kraus-

Czeisler). ECF No. 18. The motion explains that the proposed interim co-lead counsel have

been contacted by dozens or putative class members; that they have thoroughly researched the

Epic Pass program, Vail’s offer of a partial discount towards the purchase of a pass for the 2020-

2021 season, various media reports, and defendant’s position in the market. Id. at 6. They add

that they are aware that several putative class members purchased “Pass Insurance,” and they are

prepared to broaden the litigation to include claims against Beecher Carlson Insurance Services,

United Specialty Insurance Company, and American Claims Management arising out of their

alleged deceptive marketing of insurance policies and their failure to pay COVID-19 related

claims. Id. They cite their extensive class action experience and assure the Court that they will

commit the necessary resources to the task. Id. at 4-12. They point out that Mr. Robert Carey

and Stuart Paynter tried the DaVita case in this Court, and that Mr. Carey has also tried cases

before Judges Blackburn and Nottingham in this district. Id. at 9.

       Second, counsel in the McAuliffe case, 20-cv-1176-RBJ, propose that lawyers from the

law firms of Cafferty Clobes Meriwether & Sprengel LLP of Chicago and Sherman & Howard

L.L.C. of Denver be designated respectively as lead and liaison counsel. ECF No. 41. They

suggest that, especially in a relatively small and non-complex case like this one, having two

firms serving as interim lead counsel (as in the Han/Clark proposal) is a bad idea in terms of

efficiency. Id. at 6-7. They, too, claim to have been contacted by numerous putative class

members. They, too, have researched the issues including potential claims against the insurance

companies. Id. at 8. And, they, too, will bring substantial class action experience (Cafferty) and

trial experience (Sherman & Howard) to the project. Id. at 8-14. Their bid is supported by


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counsel in the Bellafatto case (20-cv-1585-RBJ-KLM) and the Connolly case (20-cv-1881-RBJ-

KLM). Id. at 14.

       The third motion was filed by counsel in the Faydenko case, Hellmuth & Johnson of

Edina, Minnesota. ECF No. 42. This motion argues that appointing the Hellmuth firm as lead

class counsel, or alternatively as co-lead with another law firm, would achieve efficiency and

fairness to the parties. Id. at 2. This motion is supported by plaintiff’s counsel in the DiPirro

case (20-cv-01468-RBJ-KLM). The motion cites the Hellmuth firm’s “extensive work” to

investigate the case; it represents 10 of the 22 named plaintiffs in the consolidated cases, and it is

already working with a nationally recognized economist on damages methodology. Id. at 6-7.

Like the other motions, counsel cites the Hellmuth firm’s experience in class actions and

complex litigation, id. at 7-9, and the resources it will devote to the case. Id. at 9-10.

       Fourth, counsel in the Rarick case, 20-cv-1364-RBJ-KLM, request that the Court appoint

its lawyers from the Bursor & Fisher, P.A. firm of Walnut Creek, California and the Mason Lietz

& Klinger LLP firm of Washington, D.C. as co-lead interim class counsel. ECF No. 43. The

motion notes that Gary Mason of the latter firm participated in the Helmer class action case that

was tried in this Court. Id. at 1. Counsel suggest that the investigative and analytical efforts of

counsel, one of the Rule 23(g)(1) factors, can be a deciding factor, and they list the many

investigative actions that the two firms have taken to the date of the motion. Id. at 6-7. They

note that Bursor & Fisher filed the first case against Vail Resorts, namely, Hunt v. The Vail

Corporation, No. 3:20-cv-00319 (N.D. Cal.) and cite cases indicating that the first-filed rule

supports their application (or does it support the Han motion, which was the first of the 10 cases

at issue here?). Id. at 7-8. The motion recites Bursor & Fisher’s extensive history of litigating

consumer class actions. Id. at 9-10. They cite Judge Rakoff of the Southern District of New

York who, in appointing the firm as class counsel in a New York case in 2014, stated that “the

firm has been appointed in dozens of cases in both federal and state courts, and has won multi-


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million dollar verdicts or recoveries in [six] class action jury trials since 2008.” Id. at 9. The

motion also relates the Mason firm’s “decades of class action experience.” Id. at 10-12. Finally,

these plaintiffs note that Rick D. Bailey of Denver, counsel for the plaintiff in the Gasman case,

20-cv-01475-RBJ-KLM, and who was lead counsel in the Helmer class action case tried in this

Court, supports their motion. Id. at 14. They suggest that he be named as liaison counsel. Id.

       Fifth, and finally, the Gibbs Law Group of Oakland, California, counsel for the plaintiff

in the Malachowsky case, 20-cv-001529-RBJ-KLM, asks that it be appointed either as the sole

interim class counsel or as co-counsel with counsel for the Han plaintiffs. ECF No. 44. The

firm was recognized by “Law360” as having one of the top four plaintiff class action practice

groups in the country. Id. at 2. This recognition and the recognition of its founding partner’s as

one of the 500 leading plaintiff’s consumer lawyers by “Lawdragon,” stems from its history of

advocacy on behalf of consumers. See id at 3-4. The firm has experience in similar contract-

related cases. Id. at 4-5. It will commit the firm’s founding partner, Eric H. Gibbs, plus two

partners, an associate, and a team of non-lawyer professionals to the case. Id. at 5-7. Like the

other competing law firms, Gibbs has done considerable investigation of skier complaints and

potential claims and defenses, but the firm also knows how to avoid spending time and energy on

unnecessary work, such as filing early motions that clog the Court’s docket. Id. at 7.

       The Court finds that each of the five competing bids has been made by counsel who

satisfy the requirements of Rule 23(g)(1). Counsel for all these plaintiffs have done their

homework, would bring extensive class action experience to the case, are knowledgeable of

class-action law and either are or will become knowledgeable of applicable Colorado law; and

are prepared to devote what it takes in terms of human and monetary resources to do the job. I

note that several of the lawyers have successfully litigated cases in my court and in other courts

in this district. However, I am satisfied that any of the applicants could and would do an




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excellent job in this case. It is unfortunate that the several law firms could not agree amongst

themselves on who best could represent the group in this case.

        On the other hand, the Court does not regard this case as complex. Particularly in its

present configuration, pitting the Epic Pass holders against the Resort, it appears to be a likely

case for class certification. The addition of insurance defendants could affect those impressions.

It appears to be a case that could and should settle. It also appears to be a case where a single

legal defense could be at the front and center of the case early on. It does not appear to be a case

of the size or complexity that warrants co-lead counsel. The parties have not clearly identified

the respective roles of “lead” and “liaison” counsel, but perhaps there could be a useful and

distinct role for both.

        Having carefully considered all the motions, the Court grants the motion of the McAuliffe

plaintiffs and appoints Cafferty Clobes Meriwether & Sprengel as interim lead counsel. The

Court appoints Sherman & Howard as liaison counsel. The Court has no doubt that the Cafferty

firm, like others in this case, has the experience, ability and resources necessary to handle the

job. The Court finds that there is value in having a regional law firm that similarly has

substantial resources and experience, and that the Court knows well and respects, serving in the

liaison role. The two law firms are already working together. All things considered, the Court

finds that this combination of lead and liaison counsel is the best among multiple good options.

                                                 ORDER

        1. ECF No. 41 is GRANTED.

        2. ECF Nos. 18, 42, 43 and 44 are DENIED.

        Dated this 15th day of October, 2020.



                                                      BY THE COURT:




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                                         ___________________________________
                                         R. Brooke Jackson
                                         United States District Judge




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